Case 17-12124-jkf     Doc 16   Filed 04/21/17 Entered 04/21/17 15:39:33      Desc Main
                               Document      Page 1 of 2


                IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re                                       :   Chapter 13

Karin Williamson,                           :

                    Debtor.      :              Case No. 17-12124 (JKF)
________________________________


                                        ORDER


        This 21st day of April, 2017, the debtor having filed a voluntary petition in

bankruptcy under chapter 13 on March 28, 2017, and docketed at Case

No. 17-12124

        And it further appearing that at the time the debtor filed this voluntary

petition, she was already a debtor with a pending chapter 13 case docketed at

Case No. 11-15759,

        And an individual may not have pending simultaneously two chapter 13

cases as there would be a conflict between two bankruptcy estates. Accord

Matter of Lunsford, 39 B.R. 490 (Bankr. N.D. Ga. 1984). Indeed, generally, a

debtor may not have pending simultaneously two bankruptcy cases regardless of

the chapters of each case. See, e.g., Freshman v. Atkins, 269 U.S. 121 (1925);

In re Descorp, Inc., 1992 U.S. Dist. Lexis 1835 (E.D. Pa. 1992); Prudential Ins.

Co., of America v. Colony Square, 29 B.R. 432, 436 (W.D. Pa. 1983); In re

Befort, 137 B.R. 56 (Bankr. D. Kan. 1992); In re Keen, 121 B.R. 513 (Bankr.

W.D. Ky. 1990); In re Martin, 97 B.R. 1013 (Bankr. N.D. Ga. 1989),
Case 17-12124-jkf   Doc 16   Filed 04/21/17 Entered 04/21/17 15:39:33   Desc Main
                             Document      Page 2 of 2


      And, further, this second filing may be an improper attempt to circumvent

an order in the earlier pending case terminating the automatic stay as to a

secured creditor,

      Accordingly, pursuant to 11 U.S.C. § 1307(c), it is hereby ORDERED that

this case is dismissed for “cause.” Accord, e.g., In re Doss, 133 B.R. 108

(Bankr. N.D. Ohio 1991); In re Jackson, 108 B.R. 251 (Bankr. E.D. Cal. 1989).




                                             _____________________________
                                             HONORABLE JEAN K. FITZSIMON
                                             United States Bankruptcy Judge

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